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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                             Chapter 11
Pack Liquidating, LLC, et al.,1
                                                             22-10797 (CTG)
                                               Debtors.
                                                             (Jointly Administered)

Official Committee of Unsecured Creditors of
Pack Liquidating, LLC, et al., derivatively, on
behalf of the Debtors’ estates,
                                            Plaintiff,       Adv. No. 23-50536
vs.

Kepler Group LLC; and Amazon Advertising
LLC fka Amazon Media Group, LLC,
                                Defendant.

    JOINT STIPULATION OF THE PARTIES TO EXTEND THE DEADLINES IN THE
                           PROCEDURES ORDER

          The Official Committee of Unsecured Creditors (the “Committee” or “Plaintiff”) of Pack

Liquidating, LLC, et al., derivatively, on behalf of the debtors and debtors-in-possession in the

above-captioned bankruptcy proceedings (collectively, the “Debtors”), and Kepler Group LLC

and Amazon Advertising LLC fka Amazon Media Group, LLC (the “Defendant” and, together

with Plaintiff, the “Parties”), through their respective counsel, enter into this Joint Stipulation Of

The Parties To Extend The Deadlines In The Procedures Order and hereby stipulate and agree as

follows:

          1. The Official Committee of Unsecured Creditors of Pack Liquidating, LLC (the

              “Plaintiff”), filed the above Adversary Proceeding against Kepler Group LLC on

              September 12, 2023. (Adv. Docket No. 1)


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      The Debtors in these chapter 11 cases are: Pack Liquidating, LLC; GV Liquidating LLC; PM Liquidating, LLC;
      PP Liquidating, LLC; PV Liquidating, LLC; and AB Liquidating, LLC.

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2. On November 8, 2023, the Court entered “Order Establishing Streamlined Procedures

    Governing Adversary Proceedings With Total In Controversy Greater Than

    $75,000.00 Brought By Plaintiff Pursuant To Sections 502, 547, 548, 549 And 550 Of

    The Bankruptcy Code” (the “Procedures Order”). (Adv. Docket No. 5)

3. On April 12, 2024, the Plaintiff filed an amended complaint adding Amazon

    Advertising LLC, fka Amazon Media Group, LLC as an additional defendant (the

    “Amended Complaint”). (Adv. Docket No. 13)

4. Pursuant to Paragraph 4 of the Procedures Order, the Parties are not required to appear

    at the initial pretrial conference or any subsequently scheduled pretrial conferences.

5. The Parties desire to extend certain deadlines in the Procedures Order.

6. The Parties agree to file an answer or other responsive pleading to the Amended

    Complaint no later than July 1, 2024.

7. The Parties agree to serve all written interrogatories, document requests and requests

    for admission, if any, no later than July 30, 2024.

8. The Parties agree that this Adversary Proceeding shall be referred to mediation by the

    later of (1) August 31, 2024, or (2) if any party has moved to dismiss the Amended

    Complaint in whole or in part, and such motion does not result in the dismissal of the

    claims against that party in the Adversary Proceeding, two (2) weeks after the Court’s

    decision on such motion.

9. The deadline for the Parties to select a mediator from the list of proposed mediators in

    Exhibit D to the Procedures Order is two (2) weeks after the Adversary Proceeding has

    been referred to mediation.




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     10. The deadline for the Parties to complete the mediation is four (4) months after selection

         of the mediator.

     11. The deadline for the Parties to file and serve all dispositive motions, if any, is five (5)

         months after the competition of mediation.



Dated: June 6, 2024                                Dated: June 6, 2024

A.M. SACCULLO LEGAL, LLC                           SEWARD & KISSEL LLP

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Special Litigation Counsel to the Official       Counsel for Amazon Advertising LLC fka
Committee of Unsecured Creditors of Pack         Amazon Media Group, LLC
Liquidating, LLC, et al.




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